     Case 2:20-cr-00634-DWL Document 102-1 Filed 10/28/22 Page 1 of 2



 1
 2
 3
 4
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                              CR-20-00634-PHX-DWL
10                        Plaintiff,
                                                   [PROPOSED] ORDER DESIGNATING
11            vs.                                     CLASSIFIED INFORMATION
                                                         SECURITY OFFICER
12
     Jill Marie Jones,
13
                          Defendant.
14
15         Having considered the United States’ Memorandum of Law Pursuant to the
16   Classified Information Procedures Act, 18 U.S.C. App. III, and Motion to Designate
17   Classified Information Security Officer, the Court FINDS:
18         That the United States has notified the Court that this case may involve classified
19   information;
20         That federal law explicitly provides that federal courts must have security
21   procedures for the handling of classified information. See Classified Information
22   Procedures Act (“CIPA”), Pub. L. 96-456 § 9, 94 Stat. 2025 (1980) (Statutory notes to §
23   9);
24         That the Attorney General or the Department of Justice Security Officer has
25   recommended to the court a person qualified to serve as a Classified Information Security
26   Officer (or “CISO”); and
27
28
     Case 2:20-cr-00634-DWL Document 102-1 Filed 10/28/22 Page 2 of 2




 1          That the CISO is selected from the Litigation Security Group, Security and
 2   Emergency Planning Staff, Department of Justice to be detailed to the court to serve in a
 3   neutral capacity. Good cause appearing,
 4          IT IS HEREBY ORDERED setting a CIPA Section 2 Pretrial Conference on
 5   _________________________ at ________.
 6          IT IS FURTHER ORDERED that pursuant to Paragraph 2 of the Revised Security
 7   Procedures Established under to Pub L. 96-456, 94 Stat. 2025, by the Chief Justice of the
 8   United States and promulgated pursuant to Section 9 of the Classified Information
 9   Procedures Act, the Court HEREBY APPOINTS Mr. Connor B. Morse, Security
10   Specialist, as the Classified Information Security Officer in the above-captioned matter,
11   for the protection of classified information that may arise in the above-captioned matter.
12          IT IS FURTHER ORDERED that the Court APPOINTS Daniel O. Hartenstine,
13   Patrice E. King, Daniella M. Medel, Matthew W. Mullery, Carli V. Rodriguez-Feo, Harry
14   J. Rucker, and Winfield S. “Scooter” Slade as alternate Court Security Officers in the
15   above-captioned matter.
16         Dated this ____ day of ______________, 2022.
17
18                                             _________________________________
19                                             HONORABLE DOMINIC W. LANZA
                                               United States District Judge
20
21
22
23
24
25
26
27
28


                                                -2-
